                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


EQUAL MEANS EQUAL, JANE DOE,
MARY DOE, and SUSAN DOE,
     Plaintiffs


                 V.                          C.A.   No.     17-12043-MLW


DEPARTMENT OF EDUCATION and
BETSY DEVOS,
     Defendants.

                                  ORDER


WOLF, D.J.                                                December 3, 2018
     The Complaint in this action was filed on October 19, 2017.

Defendants moved to dismiss on February 27, 2018. The court allowed

plaintiffs' motion to extend time to respond until May 14, 2018.
     Plaintiffs did not respond by May 14, 2018. On May 17, 2018,

plaintiffs untimely filed their response, accompanied by a motion
to extend time to respond.        See Docket Nos.     15,    19.   The court

allowed the motion, but ordered that "in the future, any request

for an extension of time shall be filed at least seven days before

the deadline for the submission." See Sept.           23,    2018 Order SI3

(Docket No.    23)

     On September 24, 2018 the court docketed plaintiffs' Amended
Complaint. On November 8, 2018, defendants again moved to dismiss.
See Docket No.       27. Accordingly, plaintiffs'   response was due on

November 23, 2018. See L.R. 7.1(b)(2).
       Plaintiffs did not file a response by November 23,                      2018. On

November 26, 2018, plaintiffs moved to extend time to respond until

November 27, 2018. See Docket No.             29. The motion was accompanied

by a supporting memorandum, but not an affidavit as required by

Rule 7.1(b)(1) of the Local Rules of the United States District

Court for the District of Massachusetts.

       On November 27,          2018,   plaintiffs filed their response.               See

Docket    No.    37.   Plaintiffs       also moved      to   correct   their    earlier

motion    to    extend       time,   explaining   that       they   now     believe    the

deadline to respond was November 26, 2018, not November 23, 2018.

See    Docket No.      35.    Accordingly,    they clarified that they only

sought a one-day extension of time. Plaintiffs' motion to correct

was accompanied by an affidavit stating that plaintiffs' counsel

initially thought that the response was due on November 29, 2018,
see Docket No.         35-1, and a memorandum stating that that "[t]he

Thanksgiving holiday significantly interfered with Plaintiffs'
counsel's ability to complete the response," see Docket No. 36.

Plaintiffs' counsel did not address why she did not move to extend

time     at    least   seven     days   before    the    deadline      to    respond    as

previously ordered.            In any event, defendant opposed plaintiff's
request for additional time.

       Therefore, plaintiffs have repeatedly failed to timely file

required submissions and did not move to extend time at least seven
days before the most recent deadline, as required by the September

23,   2018 Order.

      Accordingly,   it is hereby ORDERED that plaintiffs' counsel

shall, by December 11, 2018,       file an affidavit seeking to show

good cause why the court should not impose sanctions pursuant to

Federal   Rule   of Civil   Procedure    16(f)(1)(C),   including but   not

limited to requiring her to pay an amount equal to the reasonable

expenses,   including attorneys'        fees,   incurred by defendant in

opposing the recent untimely motion for an extension.




                                            Os-A.
                                            UNITED S'TATES   DISTRICT JUDGE
